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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   PUBLIC INTEREST LEGAL FOUNDATION, INC.,

                                                      Plaintiff,
      v.

   JENA GRISWOLD, in her official capacity as                      Civil Case No. 1:21-cv-03384-
   Secretary of State for the State of Colorado,                   PAB-MEH

                                                    Defendant.


           PLAINTIFF PUBLIC INTEREST LEGAL FOUNDATION’S SUR-REPLY IN
                  RESPONSE TO DEFENDANT’S MOTION TO DISMISS

           Defendant Jena Griswold (“Secretary”) has moved to dismiss the Foundation’s complaint

  on the grounds that that the requested ERIC Deceased Reports are generally not public records

  under the National Voter Registration Act and specifically that the Foundation’s claim conflicts

  with (1) the Driver’s Privacy Protection Act (Doc. 23 at 11-14; Doc. 28 at 3-11) and (2) federal

  laws governing the Limited Access Death Master File (Doc. 23 at 9-11; Doc. 28 at 3-11).

           Documents the Foundation obtained via a public records request after the filing of its

  response to the Secretary’s Motion to Dismiss (Doc. 25) call the Secretary’s arguments into

  question. These documents, true and correct copies of which are attached to this memorandum,

  apparently reveal that ERIC and its member states are sharing data with an outside organization

  called the Center for Election Innovation and Research or CEIR. https://electioninnovation.org/

  (last accessed July 21, 2022).

           In a January 12, 2021 email, ERIC Executive Director Shane Hamlin wrote the following

  to Rhode Island Director of Elections Rob Rock:

           Yes, you’re good to continue working with CEIR.



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         CEIR signed an NDA with ERIC for the purpose of assisting ERIC and ERIC
         members with independent research of ERIC’s effectiveness. The NDA applies to
         ERIC data and information that CEIR receives from ERIC or a member state
         of ERIC. It includes detailed requirements and restrictions to protect your
         data/ERIC data.

  Exhibit A at 2 (emphasis added). While the details of this information-sharing agreement are

  presently unknown to the Foundation, this email minimally indicates that ERIC and its member

  states are sharing data with CEIR. The Foundation brings this email to the Court’s attention in

  light of the Secretary’s position that the DPPA and LADMF regulations preclude disclosure of

  data to the Foundation.



  Dated: July 22, 2022.

  For the Plaintiff Public Interest Legal Foundation:

                                                  /s/ Noel H. Johnson
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                                               the District of Colorado

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                                               Foundation




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 22, 2022, I electronically filed the foregoing using the

  Court’s ECF system, which will serve notice on all parties.


                                                 /s/ Noel H. Johnson
                                                Noel H. Johnson
                                                Counsel for Plaintiff
                                                njohnson@PublicInterestLegal.org




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